           Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 1 of 51
                    E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




                      IN THE IOWA DISTRICT COURT FOR POLK COUNTY

     TROY TYLER,
                                                              CASE NO. _____________________
     Plaintiff,
                                                                      ORIGINAL NOTICE
     vs.

     HOTEL FORT DES MOINES, HILTON
     WORLDWIDE AND CURIO COLLECTION
     BY HILTON, FIRST HOSPITALITY,
     KERRI BLANCHARD, KYLE MIRIANI,
     DILLON DOUGLAS, NEIL UPADHYAY
     AND BRIAN ATKINS,

     Defendants.

TO THE ABOVE-NAMED DEFENDANTS:

       You are notified that a Petition has been filed electronically in the office of the clerk of this court
naming you as the defendants in this action. A copy of the Petition (and any documents filed with it) is
attached to this notice. The attorneys for the Plaintiffs are Roxanne Conlin and Tyler Adams of Roxanne
Conlin & Associates, P.C., 3721 SW 61st Street, Suite C, Des Moines, IA 50321-2418. That attorneys’ phone
number is 515-283-1111; facsimile number 515-282-0477.

         Polk County is an e-filing county. Please refer to Chapter 16 of the Iowa Rules of Court and
specifically Division VI of Chapter 16 regarding the protection of personal and confidential information. You
must serve a motion or answer within 20 days after the service of this original notice upon you and, within a
reasonable time thereafter, file your motion or answer with the Clerk of Court for Polk County, at the county
courthouse in Des Moines, Iowa. If you do not, judgment by default may be rendered against you for the
relief demanded in the Petition.

      If you require the assistance of auxiliary aids or services to participate in court because of a disability,
immediately call your district ADA coordinator at 515-286-3394. (If you are hearing impaired, call Relay
Iowa TTY at 1-800-735-2942).

                                                    __________________________________
(SEAL)                                              POLK COUNTY CLERK OF COURT
                                                    Polk County Courthouse
                                                    500 Mulberry St.
                                                    Des Moines, IA 50309

YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT YOUR INTERESTS.


                                                        1
               Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 2 of 51
                           E-FILED 2023 NOV 29 1:35 PM POLK - CLERK OF DISTRICT COURT




Iowa Judicial Branch                                               Case No.       LACL157287
                                                                   County         Polk

Case Title     TRTYLER VS HOTEL FORT DES MOINES, HILTON WORLDWIDE

You must file your Appearance and Answer on the Iowa Judicial Branch eFile System, unless the attached Petition and
Original Notice contains a hearing date for your appearance, or unless the court has excused you from filing electronically
(see Iowa Court Rule 16.302).

Register for the eFile System at www.iowacourts.state.ia.us/Efile to file and view documents in your case and to receive
notices from the court.

For general rules and information on electronic filing, refer to the Iowa Rules of Electronic Procedure in chapter 16 of the
Iowa Court Rules at www.legis.iowa.gov/docs/ACO/CourtRulesChapter/16.pdf.

Court filings are public documents and may contain personal information that should always be kept confidential. For the
rules on protecting personal information, refer to Division VI of chapter 16 of the Iowa Court Rules and to the Iowa
Judicial Branch website at www.iowacourts.gov/for-the-public/representing-yourself/protect-personal-information/.

Scheduled Hearing:




If you need assistance to participate in court due to a disability, call the disability access coordinator at (515) 286-3394 .
Persons who are hearing or speech impaired may call Relay Iowa TTY (1-800-735-2942). For more information, see
www.iowacourts.gov/for-the-public/ada/. Disability access coordinators cannot provide legal advice.

Date Issued 11/29/2023 01:35:51 PM




District Clerk of Court or/by Clerk's Designee of Polk        County
 /s/ Valeri Mueller
       Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 3 of 51
                  E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




                   IN THE IOWA DISTRICT COURT FOR POLK COUNTY


 TROY TYLER,                                                 CASE NO.

             Plaintiff,                                          PETITION AT LAW
                                                                 AND JURY DEMAND
 vs.

 HOTEL FORT DES MOINES, HILTON
 WORLDWIDE AND CURIO
 COLLECTION BY HILTON, FIRST
 HOSPITALITY, KERRI BLANCHARD,
 KYLE MIRIANI, DILLON DOUGLAS,
 NEIL UPADHYAY AND BRIAN ATKINS,

             Defendants.


        COMES NOW, Plaintiff Troy Tyler, by and through counsel, and hereby brings his

causes of action against Hotel Fort Des Moines, Hilton Worldwide and Curio Collection by

Hilton, First Hospitality, Kerri Blanchard, Kyle Miriani, Dillon Douglas, Neil Upadhyay and

Brian Atkins, and states to the Court as follows:

                                              INTRODUCTION

        1.        This is an action under and pursuant to the Iowa Civil Rights Act, Iowa Code

Chapter 216.

        2.        Under the Iowa Civil Rights Act, Plaintiff is protected from discriminatory

practices based on his race and his skin color.

                                    PROCEDURAL REQUIREMENTS

        3.        Plaintiff Tyler filed his race and skin color discrimination complaint with the

Iowa Civil Rights Commission on February 23, 2023, within the 300-day limitations period from

the last discriminatory act alleged.

        4.        On September 27, 2023, less than ninety days prior to the filing of this Petition,
     Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 4 of 51
               E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




the Iowa Civil Rights Commission issued a Right to Sue Letter.

                                     JURISDICTION AND VENUE

        5.     The unlawful practices alleged herein were committed in Polk County, Iowa.

        6.     Venue is properly laid in this judicial district pursuant to Iowa Code § 616.17 and

616.18, in that one or more Defendants reside in Polk County, Iowa.

                                                PARTIES

        7.     Plaintiff Troy Tyler is a black male, and all times material hereto, was a citizen

and resident of Polk County, Iowa.

        8.     Hilton Worldwide and Curio Collection by Hilton is a Corporation organized and

existing under the laws of the State of Delaware with its headquarters at 7930 Jones Branch Dr,

McLean, VA 22102 doing business in Iowa as the Hotel Fort Des Moines, in Polk County,

Iowa.

        9.     On information and belief at all times material hereto, Defendant Hotel Fort Des

Moines was a corporation organized and existing under the laws of the State of Iowa, with its

principal place of business at 1000 Walnut Street, Des Moines, Polk County, Iowa.

        10.    At all times material hereto, Defendant First Hospitality was a property

management company with its headquarters in Rosemont, Illinois, and business in Iowa as the

management company for the Hotel Fort Des Moines in Des Moines, Polk County, Iowa.

        11.    At all times material hereto, Defendant Neil Upadhyay was Director of

Operations for the Hotel Fort Des Moines and Plaintiff’s direct supervisor. On information and

belief, he was a citizen and resident of Polk County, Iowa.

        12.    At all times material hereto, Defendant Kerri Blanchard was a Lobby Attendant at

the Hotel Fort Des Moines. On information and belief, she is a citizen and resident of Polk



                                                 2
     Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 5 of 51
                E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




County, Iowa.

        13.     At all times material hereto, Defendant Dillon Douglas was Director of Revenue

Management and Director of the Front Office at the Hotel Fort Des Moines. On information and

belief, he is a citizen and resident of Polk County, Iowa.

        14.     At all times material hereto, Defendant Kyle Miriani was Director of Human

Resources at the Hotel Ft. Des Moines. On information and belief, he is a citizen and resident of

Polk County, Iowa.

        15.     At all times material hereto, Defendant Brian Atkins was the General Manager of

the Hotel Ft. Des Moines. On information and belief, he is a citizen and resident of Polk County,

Iowa.

        16.     Under the doctrine of respondeat superior, Corporate Defendants and each of

them are legally liable for any damages caused to Plaintiff by the conduct of Defendants

Upadhyay, Douglas, Miriani, Atkins and Blanchard, or in the alternative, under the principles of

ostensible agency, Corporate Defendants are legally liable for any damages caused to Plaintiff by

the conduct of Defendants Upadhyay, Douglas, Miriani, Atkins and Blanchard.

                                      FACTUAL BACKGROUND

        17.     Plaintiff Troy Tyler is African American. He is a member of a protected class

based on his race. Plaintiff’s skin color is black. He is a member of a protected class based on his

skin color.

        18.     Defendants have allowed a culture of racism to flourish and thrive within the

Hotel Fort Des Moines.

        19.     Plaintiff Tyler has been insulted, harassed, belittled, humiliated, and excluded all

because he is a black male.



                                                  3
     Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 6 of 51
                E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




       20.     The types of racist comments and treatment Plaintiff Tyler endured occurred on a

daily basis and Plaintiff Tyler always made it known that these comments were unwelcome and

unacceptable in the workplace.

       21.     Plaintiff began working for Defendants in January of 2022, as a Security Guard.

       22.     Plaintiff’s duties as a security guard included ensuring the safety and security of

the building, staff and guests of the hotel. To carry out his duties he would make rounds

throughout the hotel.

       23.     Plaintiff Tyler had a conversation with Defendant Neil discussing the a promotion

to Security Manager after Tyler worked there for a few months.

       24.     In April of 2022, Defendant Blanchard began falsely reporting Plaintiff Tyler to

Defendant Miriani and harassing Plaintiff in front of other employees and guests.

       25.     Defendant Blanchard claimed Plaintiff watched her in the hotel and intimidated

her. This is untrue.

       26.     Plaintiff Tyler reported her conduct to Defendant Douglas. Nothing was done to

stop her from harassing Plaintiff.

       27.     On June 3, 2022 Plaintiff Tyler was doing his normal sweep of the second floor

and noticed a door was being held open with a doorstop. He removed the doorstop and secured

the door shut. Plaintiff then went through the conference room and Defendant Blanchard

stormed in and began yelling at him. Defendant Blanchard demanded the doorstop be handed

back to her, as it was hers. Plaintiff immediately returned the doorstop to her. Defendant

Blanchard continued to yell at Plaintiff calling him a “douchebag”. Plaintiff sent the camera

footage of Defendant Blanchard’s unprofessional conduct to Defendants Miriani, Upadhyay and

Atkins. Nothing was done.



                                                 4
     Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 7 of 51
                E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




        28.     On June 16, 2022 Plaintiff Tyler was conducting his rounds in the hotel when he

began having a casual, pleasant conversation with Defendant Blanchard. Plaintiff stated they

could continue to have these pleasant conversations going forward, unlike the interactions where

she would scream, and make false accusations.

        29.      Defendant Blanchard then became upset and yelled at Plaintiff that she knows

Plaintiff follows her around the hotel and that she does not like how he walks around the hotel

holding his flashlight like he is still a police officer.

        30.     Defendant Blanchard walked away after screaming at Plaintiff Tyler and he went

back to working. Later that same shift, other employees informed him that she was spreading

false rumors that he chased her down the hallway.

        31.     On July 21, 2022 Plaintiff Tyler was standing at the front desk of the hotel when

Defendant Blanchard walked up to him and began to taunt him. She yelled very loud “Do you

have something to say to me?” She was holding her phone up to record while she yelled. In

response, he said “go to work.”

        32.     Defendant Blanchard’s yelling and taunting occurred in front of two other

employees and a hotel guest. He reported this in a letter to Miriani, Upadhyay and Atkins in an

effort to stop the hostile and toxic work environment that she had created with her harassment.

Nothing was done to prevent Defendant Blanchard from harassing him further.

        33.     On July 22, 2022, Defendat Miriani notified Plaintiff Tyler that he did not want to

continue dealing with Defendant Blanchard’s false complaints. His solution was for Plaintiff

Tyler to come in to work only after Defendant Blanchard had already left the hotel, which was

normally around 12 midnight. Plaintiff Tyler told Defendant Miriani that Defendant Blanchard

had an issue with African American men.



                                                     5
     Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 8 of 51
               E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




       34.     Defendant Blanchard also has admitted she has a hatred for police both to

Plaintiff Tyler and to other people. Defendant Blanchard’s hatred is actually a hatred of all

African Americans. While Defendant Blanchard claims to hate police, she only acted with

distain toward Plaintiff Tyler and not white people who are former officers.

       35.     On August 3, 2022, Plaintiff Tyler spoke with Defendant Upadhyay in the

breakroom of Hotel Fort Des Moines. Plaintiff Tyler asked Defendant Upadhyay if he was going

to get a promotion in the near future, like they had discussed in his interview. Multiple new

people had come in and been promoted, yet Plaintiff Tyler had not gotten the promotion he was

promised in his interview.

       36.     Defendant Upadhyay told him there was not enough money to give him a raise

and promote him to Manager of Security. Plaintiff Tyler already had the title of Manager of

Security without any of the benefits, and Defendant Upadhyay said Corporate would not give

them to him. The employee worksheet posted in the main office said his title was security

manager.

       37.     Plaintiff Tyler was supervised and chagrined when Defendant Upadhyay told him

that he should “leave this place” because he had a lot of complaints from people claiming he

took pictures of them or are in their business. Defendant Upadhyay admitted he knew the

complaints were “nonsense” and never brought it up to Plaintiff Tyler before for that reason.

       38.     Plaintiff Tyler was never made aware of any complaints against him from anyone

besides Defendant Blanchard prior to this conversation.

       39.     Defendant Upadhyay ended the conversation by informing him he should only

communicate with him directly and not any other management regarding any issues he continued

to have with Defendant Blanchard or other staff. This comment came shortly after he reported



                                                 6
     Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 9 of 51
               E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




Defendant Blanchard to Defendant Atkins instead of Defendant Upadhyay.

       40.     On August 4, 2022, Defendant Miriani called Plaintiff to inform him that he

needed to leave the property as soon as possible due to Defendant Blanchard’s presence at the

property. He had not finished his security checks, but Defendant Miriani said he needed to just

leave the property anyway.

       41.     Defendant Miriani admitted he was aware Defendant Blanchard had made it a

hostile work environment for the Plaintiff.

       42.     Defendant Blanchard saw Plaintiff in the building and she yelled at another staff

member, Alyssa LNU, that he was in the building and that he had sexually assaulted three

people, so she did not feel safe with him in the building.

       43.     Defendant Blanchard’s comments were false and slanderous.

       44.     Defendant Blanchard was not told to leave the premises like Plaintiff Tyler was

and was not help accountable for her continued harassment of Plaintiff.

       45.     Plaintiff also witnessed and reported the sexual harassment of another employee,

Sydney Lalor. Plaintiff witnessed Brad Johnson corner and isolate Sydney in parts of the

building without cameras. Plaintiff Tyler encouraged her to report Brad’s sexual harassment.

       46.     Brad Johnson ‘s sexual harassment of Sydney Lalor was reported to Defendants

Miriani and Atkins but they failed to take the steps to correct his behavior.

       47.     Defendants Miriani, Upadhyay and Atkins did not want to get rid of Brad

Johnson, a white male, and were not willing to discipline him for his gross misconduct.

       48.     Defendants Miriani and Upadhyay believed Plaintiff Tyler created a problem by

encouraging Sydney to report Brad Johnson, and they retaliated against him as a result.

       49.     On August 9, 2022, Defendant Upadhyay emailed the entire hotel staff that



                                                 7
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 10 of 51
               E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




neither Defendant Blanchard or Plaintiff Tyler were allowed on the premises.

       50.     Plaintiff Tyler was sent a termination checklist on August 10, 2022. He was

never notified about the reason for termination until his unemployment hearing, where Plaintiff

was accused of being “rude” to guests, despite the fact he had never been written up or made

aware of such acts, nor did he ever commit them.

       51.     Defendant Blanchard never received any discipline for her actions, despite

Plaintiff Tyler’s multiple complaints to Defendants Upadhyay, Miriani and Atkins. Plaintiff

Tyler provided camera recordings, names of other witnesses and written letters to management

providing Defendant Blanchard’s hostility and blatant harassment towards him.

       52.     Defendant Blanchard was even given her job back shortly after her termination,

with backpay and Plaintiff Tyler was not.

       53.     Defendants Hotel Fort Des Moines, First Hospitality, Hilton Worldwide and

Curio Collection by Hilton Kerri Blanchard, Neil Upadhyay, Kyle Miriani, Dillon Douglas, and

Brian Atkins engaged in a pattern and practice of harassment and hostility.

       54.     This is a summary, with examples, of the discrimination, harassment, and

retaliation Plaintiff Tyler suffered on a daily basis during his employment.

       COUNT I – HARASSMENT AND DISCRIMINATION ON THE BASIS OF RACE
        AND SKIN COLOR IN VIOLATION OF IOWA CODE CHAPTER 216.6
                          AGAINST ALL DEFENDANTS

       55.     Plaintiff is an African American and his skin color is black and he is a member of

a protected class under the Iowa Civil Rights Act, Iowa Code Chapter 216.

       56.     Defendants discriminated against and harassed Plaintiff with respect to the terms

and conditions of his employment and permitted harassment and discrimination based on race

and skin color against Plaintiff in violation of Iowa Code Chapter 216, as set forth above.



                                                 8
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 11 of 51
                E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




       57.     The conduct was sufficiently severe or pervasive that a reasonable person in

Plaintiff’s position would find the work environment to be hostile or abusive.

       58.     Defendants’ conduct towards Plaintiff was unwelcome.

       59.     Corporate Defendants knew, or should have known, of the race discrimination

undertaken by its employees.

       60.     Defendants’ violation of Iowa Code Chapter 216 were a cause of injuries and

damages suffered by Plaintiff.

       61.     Defendants violation of Iowa Code Chapter 216 were a cause of injuries and

damages suffered by Plaintiff.

       62.     As a result of the Defendants’ actions, Plaintiff has suffered, and will continue to

suffer, past and future loss of wages, benefits, and other emoluments of employment, past and

future mental and emotional harm and anguish, anxiety, fear, loss of enjoyment of life, and other

damages.

       WHEREFORE, Plaintiff prays for the following relief:

               a)      That Defendants’ conduct be declared to be in violation of Plaintiff's rights

under and pursuant to Iowa Code Chapter 216;

               b)      That Defendants and their officers, employees, agents, attorneys,

successors and assigns, and those acting in concert therewith, be permanently enjoined from any

conduct violating Plaintiff's rights, or the right of others similarly situated, as secured by

Chapter 216 of the Iowa Code, and that the Court order such other injunctive relief as necessary

to prevent the Defendants from continuing their discriminatory practices and to protect others

similarly situated;

               c)      That Plaintiff be awarded compensatory damages;



                                                   9
     Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 12 of 51
                E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




                d)     That Plaintiff be made whole by providing him appropriate lost earnings

and benefits with pre-judgment interest and other affirmative relief;

                e)     That Plaintiff be awarded reasonable attorney's fees and costs incurred in

prosecuting this action; and

                f)     That Plaintiff be awarded such additional and further relief as is just and

proper.

      COUNT II: RETALIATION IN VIOLATION OF IOWA CODE SECTION 216.11
                         AGAINST ALL DEFENDANTS

          63.   Plaintiff complained to Defendants about the discrimination and harassment he

experienced on several occasions. Plaintiff Tyler also complained about the sexual harassment

of a co-worker, Sydney Lalor.

          64.   After Plaintiff Tyler formally complained about discrimination and harassment on

the basis of his race and skin color against him and about the sexual harassment of his co-worker,

Defendants retaliated against Plaintiff by further discriminating against him, harassing him, and

subjecting Plaintiff to a hostile work environment and ultimately firing him.

          65.   Iowa Code Section 216.11 forbids harassment and retaliation against a person for

filing a complaint regarding the discrimination he faces on the basis of his race and skin color or

because he reported sexual harassment of a co-worker.

          66.   Defendants’ violation of Iowa Code Chapter 216 is a cause of the injuries suffered

by Plaintiff.


          67.   As a result of the Defendants’ actions, Plaintiff has suffered, and will continue to

suffer, past and future loss of wages, benefits, and other emoluments of employment, past and

future mental and emotional harm and anguish, anxiety, fear, loss of enjoyment of life, and other



                                                 10
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 13 of 51
                 E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




damages.

       WHEREFORE, Plaintiff prays for the following relief:

                 a)       That Defendants’ conduct be declared to be in violation of Plaintiff’s

       rights as outlined by Iowa Code Chapter 216;

                 b)       That Defendants and their employees, agents, attorneys, successors and

       assigns, and those acting in concert therewith be enjoined from any conduct violating

       Plaintiff’s rights or the rights of others similarly situated as secured by Chapter 216 of the

       Iowa Code, and that the Court order such other injunctive relief as necessary to prevent

       Defendants from continuing their discriminatory practices and to protect others similarly

       situated;

                 c)       That Plaintiff be awarded compensatory damages;

                 d)       That Plaintiff be made whole by providing her compensation for the past

       and future mental and emotional harm and anguish, and other affirmative relief;

                 e)       That Plaintiff be awarded reasonable attorneys’ fees and costs incurred in

       prosecuting this action; and

                 f)       That Plaintiff be awarded such additional and further relief as is just and

       proper.

                                           JURY DEMAND

       COMES NOW Plaintiff Troy Tyler, by and through counsel, and hereby demands a trial

by jury in this matter.




                                                   11
Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 14 of 51
        E-FILED 2023 NOV 27 4:52 PM POLK - CLERK OF DISTRICT COURT




                                 /s/ Roxanne Conlin
                                 ROXANNE CONLIN AT0001642
                                 TYLER K. ADAMS AT0014549
                                 ROXANNE CONLIN & ASSOCIATES, P.C.
                                 3721 SW 61st Street, Suite C
                                 Des Moines, IA 50321-2418
                                 Phone: (515) 283-1111; Fax: (515) 282-0477
                                 Email: roxanne@roxanneconlinlaw.com
                                        tadams@roxanneconlinlaw.com
                                 cc: dpalmer@roxanneconlinlaw.com
                                 ATTORNEYS FOR PLAINTIFF




                                   12
       Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 15 of 51
                   E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




                    IN THE IOWA DISTRICT COURT FOR POLK COUNTY


 TROY TYLER,                                                 CASE NO. LACL157287

              Plaintiff,                              FIRST AMENDED PETITION AT LAW
                                                             AND JURY DEMAND
 vs.

 HOTEL FORT DES MOINES, HILTON
 WORLDWIDE AND CURIO
 COLLECTION BY HILTON, FIRST
 HOSPITALITY L.L.C, FIRST
 HOSPITALITY GROUP, INC., KERRI
 BLANCHARD, KYLE MIRIANI, DILLON
 DOUGLAS, NEIL UPADHYAY AND
 BRIAN ATKINS,

              Defendants.


         COMES NOW, Plaintiff Troy Tyler, by and through counsel, and hereby brings his

causes of action against Hotel Fort Des Moines, Hilton Worldwide and Curio Collection by

Hilton, First Hospitality, Kerri Blanchard, Kyle Miriani, Dillon Douglas, Neil Upadhyay and

Brian Atkins, and states to the Court as follows:

                                              INTRODUCTION

         1.       This is an action under and pursuant to the Iowa Civil Rights Act, Iowa Code

Chapter 216; Title VII; and 42 U.S.C. § 1981.

         2.       Under the Iowa Civil Rights Act, Title VII, and 42 U.S.C. § 1981, Plaintiff is

protected from discriminatory practices based on his race and his skin color.

                                    PROCEDURAL REQUIREMENTS

         3.       Plaintiff Tyler filed his race and skin color discrimination complaint with the

Iowa Civil Rights Commission on February 23, 2023, within the 300-day limitations period from

the last discriminatory act alleged.
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 16 of 51
               E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




        4.    On September 27, 2023, less than ninety days prior to the filing of this Petition,

the Iowa Civil Rights Commission issued a Right to Sue Letter.

                                     JURISDICTION AND VENUE

        5.    The unlawful practices alleged herein were committed in Polk County, Iowa.

        6.    Venue is properly laid in this judicial district pursuant to Iowa Code § 616.17 and

616.18, in that one or more Defendants reside in Polk County, Iowa.

                                               PARTIES

        7.    Plaintiff Troy Tyler is a black male, and all times material hereto, was a citizen

and resident of Polk County, Iowa.

        8.    Hilton Worldwide and Curio Collection by Hilton is a corporation organized and

existing under the laws of the State of Delaware with its headquarters at 7930 Jones Branch Dr,

McLean, VA 22102 doing business in Iowa as the Hotel Fort Des Moines, in Polk County,

Iowa.

        9.    On information and belief at all times material hereto, Defendant Hotel Fort Des

Moines was a corporation organized and existing under the laws of the State of Iowa, with its

principal place of business at 1000 Walnut Street, Des Moines, Polk County, Iowa.

        10.   At all times material hereto, Defendant First Hospitality L.L.C. was a property

management company with its headquarters and principal place of business in Rosemont,

Illinois, doing business in Iowa as the management company for the Hotel Fort Des Moines in

Des Moines, Polk County, Iowa.

        11.   At all times material hereto, Defendant First Hospitality Group, Inc. was a

property management company with its headquarters and principal place of business in Chicago,

Illinois doing business in Iowa as the management company for the Hotel Fort Des Moines in



                                                2
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 17 of 51
                E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




Des Moines, Polk County, Iowa

        12.     At all times material hereto, Defendant Neil Upadhyay was Director of

Operations for the Hotel Fort Des Moines and Plaintiff’s direct supervisor. On information and

belief, he was a citizen and resident of Polk County, Iowa.

        13.     At all times material hereto, Defendant Kerri Blanchard was a Lobby Attendant at

the Hotel Fort Des Moines. On information and belief, she is a citizen and resident of Polk

County, Iowa.

        14.     At all times material hereto, Defendant Dillon Douglas was Director of Revenue

Management and Director of the Front Office at the Hotel Fort Des Moines. On information and

belief, he is a citizen and resident of Polk County, Iowa.

        15.     At all times material hereto, Defendant Kyle Miriani was Director of Human

Resources at the Hotel Ft. Des Moines. On information and belief, he is a citizen and resident of

Polk County, Iowa.

        16.     At all times material hereto, Defendant Brian Atkins was the General Manager of

the Hotel Ft. Des Moines. On information and belief, he is a citizen and resident of Polk County,

Iowa.

        17.     Under the doctrine of respondeat superior, Corporate Defendants and each of

them are legally liable for any damages caused to Plaintiff by the conduct of Defendants

Upadhyay, Douglas, Miriani, Atkins and Blanchard, or in the alternative, under the principles of

ostensible agency, Corporate Defendants are legally liable for any damages caused to Plaintiff by

the conduct of Defendants Upadhyay, Douglas, Miriani, Atkins and Blanchard.

                                      FACTUAL BACKGROUND

        18.     Plaintiff Troy Tyler is African American. He is a member of a protected class



                                                 3
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 18 of 51
                E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




based on his race. Plaintiff’s skin color is black. He is a member of a protected class based on his

skin color.

       19.     Defendants have allowed a culture of racism to flourish and thrive within the

Hotel Fort Des Moines.

       20.     Plaintiff Tyler has been insulted, harassed, belittled, humiliated, and excluded all

because he is a black male.

       21.     The types of racist comments and treatment Plaintiff Tyler endured occurred on a

daily basis and Plaintiff Tyler always made it known that these comments were unwelcome and

unacceptable in the workplace.

       22.     Plaintiff began working for Defendants in January of 2022, as a Security Guard.

       23.     Plaintiff’s duties as a security guard included ensuring the safety and security of

the building, staff and guests of the hotel. To carry out his duties he would make rounds

throughout the hotel.

       24.     Plaintiff Tyler had a conversation with Defendant Neil discussing a promotion to

Security Manager after Tyler worked there for a few months.

       25.     In April of 2022, Defendant Blanchard began falsely reporting Plaintiff Tyler to

Defendant Miriani and harassing Plaintiff in front of other employees and guests.

       26.     Defendant Blanchard claimed Plaintiff watched her in the hotel and intimidated

her. This is untrue.

       27.     Plaintiff Tyler reported her conduct to Defendant Douglas. Nothing was done to

stop her from harassing Plaintiff.

       28.     On June 3, 2022 Plaintiff Tyler was doing his normal sweep of the second floor

and noticed a door was being held open with a doorstop. He removed the doorstop and secured



                                                 4
     Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 19 of 51
                 E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




the door shut. Plaintiff then went through the conference room and Defendant Blanchard

stormed in and began yelling at him. Defendant Blanchard demanded the doorstop be handed

back to her, as it was hers. Plaintiff immediately returned the doorstop to her. Defendant

Blanchard continued to yell at Plaintiff calling him a “douchebag”. Plaintiff sent the camera

footage of Defendant Blanchard’s unprofessional conduct to Defendants Miriani, Upadhyay and

Atkins. Nothing was done.

        29.     On June 16, 2022 Plaintiff Tyler was conducting his rounds in the hotel when he

began having a casual, pleasant conversation with Defendant Blanchard. Plaintiff stated they

could continue to have these pleasant conversations going forward, unlike the interactions where

she would scream, and make false accusations.

        30.      Defendant Blanchard then became upset and yelled at Plaintiff that she knows

Plaintiff follows her around the hotel and that she does not like how he walks around the hotel

holding his flashlight like he is still a police officer.

        31.     Defendant Blanchard walked away after screaming at Plaintiff Tyler and he went

back to working. Later that same shift, other employees informed him that she was spreading

false rumors that he chased her down the hallway.

        32.     On July 21, 2022 Plaintiff Tyler was standing at the front desk of the hotel when

Defendant Blanchard walked up to him and began to taunt him. She yelled very loud “Do you

have something to say to me?” She was holding her phone up to record while she yelled. In

response, he said “go to work.”

        33.     Defendant Blanchard’s yelling and taunting occurred in front of two other

employees and a hotel guest. He reported this in a letter to Miriani, Upadhyay and Atkins in an

effort to stop the hostile and toxic work environment that she had created with her harassment.



                                                    5
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 20 of 51
               E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




Nothing was done to prevent Defendant Blanchard from harassing him further.

       34.     On July 22, 2022, Defendat Miriani notified Plaintiff Tyler that he did not want to

continue dealing with Defendant Blanchard’s false complaints. His solution was for Plaintiff

Tyler to come in to work only after Defendant Blanchard had already left the hotel, which was

normally around 12 midnight. Plaintiff Tyler told Defendant Miriani that Defendant Blanchard

had an issue with African American men.

       35.     Defendant Blanchard also has admitted she has a hatred for police both to

Plaintiff Tyler and to other people. Defendant Blanchard’s hatred is actually a hatred of all

African Americans. While Defendant Blanchard claims to hate police, she only acted with

distain toward Plaintiff Tyler and not white people who are former officers.

       36.     On August 3, 2022, Plaintiff Tyler spoke with Defendant Upadhyay in the

breakroom of Hotel Fort Des Moines. Plaintiff Tyler asked Defendant Upadhyay if he was going

to get a promotion in the near future, like they had discussed in his interview. Multiple new

people had come in and been promoted, yet Plaintiff Tyler had not gotten the promotion he was

promised in his interview.

       37.     Defendant Upadhyay told him there was not enough money to give him a raise

and promote him to Manager of Security. Plaintiff Tyler already had the title of Manager of

Security without any of the benefits, and Defendant Upadhyay said Corporate would not give

them to him. The employee worksheet posted in the main office said his title was security

manager.

       38.     Plaintiff Tyler was supervised and chagrined when Defendant Upadhyay told him

that he should “leave this place” because he had a lot of complaints from people claiming he

took pictures of them or are in their business. Defendant Upadhyay admitted he knew the



                                                 6
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 21 of 51
               E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




complaints were “nonsense” and never brought it up to Plaintiff Tyler before for that reason.

       39.     Plaintiff Tyler was never made aware of any complaints against him from anyone

besides Defendant Blanchard prior to this conversation.

       40.     Defendant Upadhyay ended the conversation by informing him he should only

communicate with him directly and not any other management regarding any issues he continued

to have with Defendant Blanchard or other staff. This comment came shortly after he reported

Defendant Blanchard to Defendant Atkins instead of Defendant Upadhyay.

       41.     On August 4, 2022, Defendant Miriani called Plaintiff to inform him that he

needed to leave the property as soon as possible due to Defendant Blanchard’s presence at the

property. He had not finished his security checks, but Defendant Miriani said he needed to just

leave the property anyway.

       42.     Defendant Miriani admitted he was aware Defendant Blanchard had made it a

hostile work environment for the Plaintiff.

       43.     Defendant Blanchard saw Plaintiff in the building and she yelled at another staff

member, Alyssa LNU, that he was in the building and that he had sexually assaulted three

people, so she did not feel safe with him in the building.

       44.     Defendant Blanchard’s comments were false and slanderous.

       45.     Defendant Blanchard was not told to leave the premises like Plaintiff Tyler was

and was not help accountable for her continued harassment of Plaintiff.

       46.     Plaintiff also witnessed and reported the sexual harassment of another employee,

Sydney Lalor. Plaintiff witnessed Brad Johnson corner and isolate Sydney in parts of the

building without cameras. Plaintiff Tyler encouraged her to report Brad’s sexual harassment.

       47.     Brad Johnson ‘s sexual harassment of Sydney Lalor was reported to Defendants



                                                 7
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 22 of 51
               E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




Miriani and Atkins but they failed to take the steps to correct his behavior.

       48.     Defendants Miriani, Upadhyay and Atkins did not want to get rid of Brad

Johnson, a white male, and were not willing to discipline him for his gross misconduct.

       49.     Defendants Miriani and Upadhyay believed Plaintiff Tyler created a problem by

encouraging Sydney to report Brad Johnson, and they retaliated against him as a result.

       50.     On August 9, 2022, Defendant Upadhyay emailed the entire hotel staff that

neither Defendant Blanchard or Plaintiff Tyler were allowed on the premises.

       51.     Plaintiff Tyler was sent a termination checklist on August 10, 2022. He was

never notified about the reason for termination until his unemployment hearing, where Plaintiff

was accused of being “rude” to guests, despite the fact he had never been written up or made

aware of such acts, nor did he ever commit them.

       52.     Defendant Blanchard never received any discipline for her actions, despite

Plaintiff Tyler’s multiple complaints to Defendants Upadhyay, Miriani and Atkins. Plaintiff

Tyler provided camera recordings, names of other witnesses and written letters to management

providing Defendant Blanchard’s hostility and blatant harassment towards him.

       53.     Defendant Blanchard was even given her job back shortly after her termination,

with backpay and Plaintiff Tyler was not.

       54.     Defendants Hotel Fort Des Moines, First Hospitality, Hilton Worldwide and

Curio Collection by Hilton Kerri Blanchard, Neil Upadhyay, Kyle Miriani, Dillon Douglas, and

Brian Atkins engaged in a pattern and practice of harassment and hostility.

       55.     This is a summary, with examples, of the discrimination, harassment, and

retaliation Plaintiff Tyler suffered on a daily basis during his employment.




                                                 8
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 23 of 51
               E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




       COUNT I – HARASSMENT AND DISCRIMINATION ON THE BASIS OF RACE
        AND SKIN COLOR IN VIOLATION OF IOWA CODE CHAPTER 216.6
                          AGAINST ALL DEFENDANTS

       56.     Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in paragraphs 1 – 54 above.

       57.     Plaintiff is an African American and his skin color is black and he is a member of

a protected class under the Iowa Civil Rights Act, Iowa Code Chapter 216.

       58.     Defendants discriminated against and harassed Plaintiff with respect to the terms

and conditions of his employment and permitted harassment and discrimination based on race

and skin color against Plaintiff in violation of Iowa Code Chapter 216, as set forth above.

       59.     The conduct was sufficiently severe or pervasive that a reasonable person in

Plaintiff’s position would find the work environment to be hostile or abusive.

       60.     Defendants’ conduct towards Plaintiff was unwelcome.

       61.     Corporate Defendants knew, or should have known, of the race discrimination

undertaken by its employees.

       62.     Defendants’ violation of Iowa Code Chapter 216 were a cause of injuries and

damages suffered by Plaintiff.

       63.     Defendants violation of Iowa Code Chapter 216 were a cause of injuries and

damages suffered by Plaintiff.

       64.     As a result of the Defendants’ actions, Plaintiff has suffered, and will continue to

suffer, past and future loss of wages, benefits, and other emoluments of employment, past and

future mental and emotional harm and anguish, anxiety, fear, loss of enjoyment of life, and other

damages.

       WHEREFORE, Plaintiff prays for the following relief:



                                                  9
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 24 of 51
                E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




                a)     That Defendants’ conduct be declared to be in violation of Plaintiff's rights

under and pursuant to Iowa Code Chapter 216;

                b)     That Defendants and their officers, employees, agents, attorneys,

successors and assigns, and those acting in concert therewith, be permanently enjoined from any

conduct violating Plaintiff's rights, or the right of others similarly situated, as secured by

Chapter 216 of the Iowa Code, and that the Court order such other injunctive relief as necessary

to prevent the Defendants from continuing their discriminatory practices and to protect others

similarly situated;

                c)     That Plaintiff be awarded compensatory damages;

                d)     That Plaintiff be made whole by providing him appropriate lost earnings

and benefits with pre-judgment interest and other affirmative relief;

                e)     That Plaintiff be awarded reasonable attorney's fees and costs incurred in

prosecuting this action; and

                f)     That Plaintiff be awarded such additional and further relief as is just and

proper.

      COUNT II: RETALIATION IN VIOLATION OF IOWA CODE SECTION 216.11
                         AGAINST ALL DEFENDANTS

          65.   Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in paragraphs 1 – 54 above.

          66.   Plaintiff complained to Defendants about the discrimination and harassment he

experienced on several occasions. Plaintiff Tyler also complained about the sexual harassment

of a co-worker, Sydney Lalor.

          67.   After Plaintiff Tyler formally complained about discrimination and harassment on

the basis of his race and skin color against him and about the sexual harassment of his co-worker,

                                                  10
     Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 25 of 51
                E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




Defendants retaliated against Plaintiff by further discriminating against him, harassing him, and

subjecting Plaintiff to a hostile work environment and ultimately firing him.

        68.     Iowa Code Section 216.11 forbids harassment and retaliation against a person for

filing a complaint regarding the discrimination he faces on the basis of his race and skin color or

because he reported sexual harassment of a co-worker.

        69.     Defendants’ violation of Iowa Code Chapter 216 is a cause of the injuries suffered

by Plaintiff.


        70.     As a result of the Defendants’ actions, Plaintiff has suffered, and will continue to

suffer, past and future loss of wages, benefits, and other emoluments of employment, past and

future mental and emotional harm and anguish, anxiety, fear, loss of enjoyment of life, and other

damages.

        WHEREFORE, Plaintiff prays for the following relief:

                a)     That Defendants’ conduct be declared to be in violation of Plaintiff’s

        rights as outlined by Iowa Code Chapter 216;

                b)     That Defendants and their employees, agents, attorneys, successors and

        assigns, and those acting in concert therewith be enjoined from any conduct violating

        Plaintiff’s rights or the rights of others similarly situated as secured by Chapter 216 of the

        Iowa Code, and that the Court order such other injunctive relief as necessary to prevent

        Defendants from continuing their discriminatory practices and to protect others similarly

        situated;

                c)     That Plaintiff be awarded compensatory damages;

                d)     That Plaintiff be made whole by providing her compensation for the past

        and future mental and emotional harm and anguish, and other affirmative relief;


                                                 11
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 26 of 51
                 E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




                 e)     That Plaintiff be awarded reasonable attorneys’ fees and costs incurred in

       prosecuting this action; and

                 f)     That Plaintiff be awarded such additional and further relief as is just and

       proper.

COUNT III- VIOLATION OF 42 U.S.C. SECTION 1981 AGAINST ALL DEFENDANTS

       71.       Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in paragraphs 1 – 54 above.

       72.       Defendants subjected Plaintiff to unwelcome conduct based on his race as

described above.

       73.       This conduct was severe and pervasive and Plaintiff let it be known that the

conduct was unwelcome.

       74.       Defendants’ engaged in the above noted conduct because of Plaintiff’s race.

       75.       Plaintiff complained about the race discrimination he experienced and otherwise

opposed practices made unlawful by 42 U.S.C. § 1981.

       76.       Defendants retaliated against him because of his race and because of his

complaints opposing discrimination and sexual harassment.

       77.       As a result of Defendants’ illegal acts and omissions, Plaintiff has in the past and

will in the future suffer injuries and damages, including but not limited to mental and emotional

distress, fear, anguish, anxiety, humiliation, intimidation, embarrassment, physical sickness, lost

enjoyment of life, medical expenses, past and future lost wages, past and future lost benefits,

future earnings, and other emoluments of employment.

       78.       Defendants’ unlawful actions were intentional, willful, malicious, and/or done

with reckless disregard to Plaintiff’s federally protected rights.



                                                   12
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 27 of 51
               E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




       WHEREFORE, Plaintiff demands judgment against Defendants in an amount which will

fully and fairly compensate him for his injuries and damages, for punitive damages in an amount

sufficient to punish Defendants and to deter them and others from similar conduct in the future,

for prejudgment and post judgment interest, for attorney’s fees and expenses, for the costs of this

action, and for such other relief as may be just in the circumstances and consistent with the

purpose of the Civil Rights Act of 1866.


 COUNT IV- RACE AND SKIN COLOR DISCRIMINATION AND RETALIATION IN
       VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                 AGAINST CORPORATE DEFENDANTS
                           JURY DEMAND

       79.     Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in paragraphs 1 – 54 above.

       80.     Section 703(a) of Title VII of the Civil Rights Act of 1964, as amended, prohibits

employers from discriminating against an employee “because of such individual's race, color,

religion, sex, or national origin.” 42 U.S.C. § 2000e-2(a).

       81.     Plaintiff experienced discrimination on the basis of his race and skin color.

       82.     Section 704(a) of Title VII of the Civil Rights Act of 1964, as amended, prohibits

employers from discriminating against an employee “because he has opposed any practice made

an unlawful employment practice by this subchapter.” 42 U.S.C. § 2000e-3(a).

       83.     Plaintiff complained about race discrimination he experienced and otherwise

opposed practices made unlawful by Title VII of the 1964 Civil Rights Act.

       84.     Defendants, their agents, and/or employees retaliated against him because of his

race and because of his complaints opposing discrimination and sexual harassment.

       85.     As a result of Defendants’ illegal acts and omissions, Plaintiff has in the past and



                                                 13
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 28 of 51
                E-FILED 2023 DEC 19 2:45 PM POLK - CLERK OF DISTRICT COURT




will in the future suffer injuries and damages, including but not limited to mental and emotional

distress, fear, anguish, anxiety, humiliation, intimidation, embarrassment, physical sickness, lost

enjoyment of life, medical expenses, past and future lost wages, past and future lost benefits,

future earnings, and other emoluments of employment.

       86.     Defendants’ unlawful actions were intentional, willful, malicious, and/or done

with reckless disregard to Plaintiff’s federally protected rights.

       WHEREFORE, Plaintiff demands judgment against Defendants in an amount which will

fully and fairly compensate him for his injuries and damages, for punitive damages in an amount

sufficient to punish Defendants and to deter them and others from similar conduct in the future,

for prejudgment and post judgment interest, for attorney’s fees and expenses, for the costs of this

action, and for such other relief as may be just in the circumstances and consistent with the

purpose of the Title VII of the 1964 Civil Rights Act.

                                         JURY DEMAND

       COMES NOW Plaintiff Troy Tyler, by and through counsel, and hereby demands a trial

by jury in this matter.



                                               /s/ Roxanne Conlin
                                               ROXANNE CONLIN AT0001642
                                               TYLER K. ADAMS AT0014549
                                               ROXANNE CONLIN & ASSOCIATES, P.C.
                                               3721 SW 61st Street, Suite C
                                               Des Moines, IA 50321-2418
                                               Phone: (515) 283-1111; Fax: (515) 282-0477
                                               Email: roxanne@roxanneconlinlaw.com
                                                      tadams@roxanneconlinlaw.com
                                               cc: dpalmer@roxanneconlinlaw.com
                                               ATTORNEYS FOR PLAINTIFF




                                                 14
           Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 29 of 51
                     E-FILED 2024 JAN 16 4:47 PM POLK - CLERK OF DISTRICT COURT




                      IN THE IOWA DISTRICT COURT FOR POLK COUNTY

     TROY TYLER,
                                                              CASE NO. _____________________
     Plaintiff,
                                                               AMENDED ORIGINAL NOTICE
     vs.

     HOTEL FORT DES MOINES, HILTON
     WORLDWIDE AND CURIO COLLECTION
     BY HILTON, FIRST HOSPITALITY L.L.C,
     FIRST HOSPITALITY GROUP, INC.,
     KERRI BLANCHARD, KYLE MIRIANI,
     DILLON DOUGLAS, NEIL UPADHYAY
     AND BRIAN ATKINS,
     Defendants.

TO THE ABOVE-NAMED DEFENDANTS:

        You are notified that a Petition has been filed electronically in the office of the clerk of this court
naming you as the defendants in this action. A copy of the Petition (and any documents filed with it) is
attached to this notice. The attorneys for the Plaintiffs are Roxanne Conlin and Tyler Adams of Roxanne
Conlin & Associates, P.C., 3721 SW 61st Street, Suite C, Des Moines, IA 50321-2418. That attorneys’ phone
number is 515-283-1111; facsimile number 515-282-0477.

         Polk County is an e-filing county. Please refer to Chapter 16 of the Iowa Rules of Court and
specifically Division VI of Chapter 16 regarding the protection of personal and confidential information. You
must serve a motion or answer within 20 days after the service of this original notice upon you and, within a
reasonable time thereafter, file your motion or answer with the Clerk of Court for Polk County, at the county
courthouse in Des Moines, Iowa. If you do not, judgment by default may be rendered against you for the
relief demanded in the Petition.

      If you require the assistance of auxiliary aids or services to participate in court because of a disability,
immediately call your district ADA coordinator at 515-286-3394. (If you are hearing impaired, call Relay
Iowa TTY at 1-800-735-2942).

                                                    __________________________________
(SEAL)                                              POLK COUNTY CLERK OF COURT
                                                    Polk County Courthouse
                                                    500 Mulberry St.
                                                    Des Moines, IA 50309

YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT YOUR INTERESTS.


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              Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 30 of 51
                           E-FILED 2024 JAN 18 8:37 AM POLK - CLERK OF DISTRICT COURT




Iowa Judicial Branch                                               Case No.       LACL157287
                                                                   County         Polk

Case Title     TROY TYLER VS HOTEL FORT DES MOINES ET AL

You must file your Appearance and Answer on the Iowa Judicial Branch eFile System, unless the attached Petition and
Original Notice contains a hearing date for your appearance, or unless the court has excused you from filing electronically
(see Iowa Court Rule 16.302).

Register for the eFile System at www.iowacourts.state.ia.us/Efile to file and view documents in your case and to receive
notices from the court.

For general rules and information on electronic filing, refer to the Iowa Rules of Electronic Procedure in chapter 16 of the
Iowa Court Rules at www.legis.iowa.gov/docs/ACO/CourtRulesChapter/16.pdf.

Court filings are public documents and may contain personal information that should always be kept confidential. For the
rules on protecting personal information, refer to Division VI of chapter 16 of the Iowa Court Rules and to the Iowa
Judicial Branch website at www.iowacourts.gov/for-the-public/representing-yourself/protect-personal-information/.

Scheduled Hearing:




If you need assistance to participate in court due to a disability, call the disability access coordinator at (515) 286-3394 .
Persons who are hearing or speech impaired may call Relay Iowa TTY (1-800-735-2942). For more information, see
www.iowacourts.gov/for-the-public/ada/. Disability access coordinators cannot provide legal advice.

Date Issued 01/18/2024 08:37:55 AM




District Clerk of Court or/by Clerk's Designee of Polk        County
 /s/ Jennifer Ewers
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 31 of 51
                E-FILED 2024 JAN 29 2:30 PM POLK - CLERK OF DISTRICT COURT




                 IN THE IOWA DISTRICT COURT FOR POLK COUNTY


  TROY TYLER,                                                 CASE NO. LACL157287

  Plaintiff,                                               ACCEPTANCE OF SERVICE

  vs.

  HOTEL FORT DES MOINES, HILTON
  WORLDWIDE AND CURIO
  COLLECTION BY HILTON, FIRST
  HOSPITALITY, LLC, FIRST
  HOSPITALITY GROUP, INC., KERRI
  BLANCHARD, KYLE MIRIANI,
  DILLON DOUGLAS, NEIL
  UPADHYAY AND BRIAN ATKINS,

  Defendants.


        I, Bridget R. Penick, do hereby state that I have full authority to accept service of process

on behalf of First Hospitality, LLC and First Hospitality Group, Inc., that I have received a copy

of the Amended Original Notice and First Amended Petition at Law and Jury Demand, and I

hereby accept and acknowledge due and legal service of these documents on First Hospitality,

LLC, and First Hospitality Group, Inc.’s behalf.

                                                          FREDRIKSON & BYRON, P.A.

                                                          /s/ Bridget R. Penick
                                                          Bridget R. Penick (AT6147)
                                                          bpenick@fredlaw.com
                                                          Olivia Norwood (AT0013429)
                                                          onorwood@fredlaw.com
                                                          111 East Grand Avenue, Suite 301
                                                          Des Moines, IA 50309
                                                          Telephone: (515) 242-8900
                                                          Facsimile: (515) 242-8950

                                                          ATTORNEYS FOR FIRST
                                                          HOSPITALITY, LLC AND
                                                          FIRST HOSPITALITY GROUP, INC.


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    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 32 of 51
               E-FILED 2024 JAN 29 2:30 PM POLK - CLERK OF DISTRICT COURT




                                     Certificate of Service


        The undersigned certifies the foregoing document was electronically filed with the Clerk
of Court using the Electronic Document Management System (EDMS) on January 29, 2024, which
will send a notice of electronic filing to all counsel of record registered with the EDMS system.



                                                     /s/ Faith A. Baker




                                               2
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 33 of 51
               E-FILED 2024 JAN 30 2:07 PM POLK - CLERK OF DISTRICT COURT




                IN THE IOWA DISTRICT COURT FOR POLK COUNTY


TROY TYLER,                                               Case No. LACL157287

                      Plaintiff,

       vs.                                                APPEARANCE OF
                                                         OLIVIA N. NORWOOD
HOTEL FORT DES MOINES, HILTON
WORLDWIDE AND CURIO COLLECTION
BY HILTON, FIRST HOSPITALITY, LLC,
FIRST HOSPITALITY GROUP, INC.,
KERRI BLANCHARD, KYLE MIRIANI,
DILLON DOUGLAS, NEIL UPADHYAY
AND BRIAN ATKINS,

                      Defendants.


       Olivia N. Norwood enters her appearance in this docket on behalf of Defendants First

Hospitality L.L.C. and First Hospitality Group.



  Dated this 30th day of January 2024.            FREDRIKSON & BYRON P.A.

                                                  /s/ Olivia N. Norwood
                                                  Olivia N. Norwood (AT0013429)
                                                  onorwood@fredlaw.com
                                                  111 East Grand Avenue, Suite 301
                                                  Des Moines, IA 50309-1972
                                                  Telephone: (515) 242-8900
                                                  Facsimile: (515) 242-8950

                                                  Attorney for Defendants
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 34 of 51
               E-FILED 2024 JAN 30 2:07 PM POLK - CLERK OF DISTRICT COURT




                                    Certificate of Service
        The undersigned hereby certifies that on January 30, 2024, the foregoing document was
electronically filed with the Clerk of Court using the EDMS system, which will send a notice of
electronic filing to all counsel of record registered with the EDMS system.
                                                   /s/ Faith A. Baker
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 35 of 51
               E-FILED 2024 FEB 01 2:17 PM POLK - CLERK OF DISTRICT COURT




                IN THE IOWA DISTRICT COURT FOR POLK COUNTY


TROY TYLER,                                                  Case No. LACL157287

                      Plaintiff,

       vs.                                                    APPEARANCE OF
                                                             BRIDGET R. PENICK
HOTEL FORT DES MOINES, HILTON
WORLDWIDE AND CURIO COLLECTION
BY HILTON, FIRST HOSPITALITY, LLC,
FIRST HOSPITALITY GROUP, INC.,
KERRI BLANCHARD, KYLE MIRIANI,
DILLON DOUGLAS, NEIL UPADHYAY
AND BRIAN ATKINS,

                      Defendants.




       Bridget R. Penick enters her appearance in this docket on behalf of Defendants First

Hospitality, LLC and First Hospitality Group, Inc.



  Dated this 1st day of February 2024                FREDRIKSON & BYRON, P.A.

                                                     /s/ Bridget R. Penick
                                                     Bridget R. Penick (AT0006147)
                                                     bpenick@fredlaw.com
                                                     Olivia Norwood (AT0013429)
                                                     onorwood@fredlaw.com
                                                     111 East Grand Avenue, Suite 301
                                                     Des Moines, IA 50309-1972
                                                     Telephone: (515) 242-8902
                                                     Facsimile: (515) 242-8950

                                                     ATTORNEYS FOR FIRST
                                                     HOSPITALITY, LLC AND
                                                     FIRST HOSPITALITY GROUP, INC.
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 36 of 51
               E-FILED 2024 FEB 01 2:17 PM POLK - CLERK OF DISTRICT COURT




                                    Certificate of Service
        The undersigned hereby certifies that on February 1, 2024, the foregoing document was
electronically filed with the Clerk of Court using the EDMS system, which will send a notice of
electronic filing to all counsel of record registered with the EDMS system.
                                                   /s/ Faith A. Baker
Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 37 of 51
        E-FILED 2024 FEB 02 10:55 AM POLK - CLERK OF DISTRICT COURT
Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 38 of 51
        E-FILED 2024 FEB 02 10:28 AM POLK - CLERK OF DISTRICT COURT
Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 39 of 51
        E-FILED 2024 FEB 02 10:58 AM POLK - CLERK OF DISTRICT COURT
Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 40 of 51
        E-FILED 2024 FEB 02 11:03 AM POLK - CLERK OF DISTRICT COURT
Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 41 of 51
        E-FILED 2024 FEB 05 11:34 AM POLK - CLERK OF DISTRICT COURT
Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 42 of 51
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Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 43 of 51
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    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 44 of 51
               E-FILED 2024 FEB 15 4:49 PM POLK - CLERK OF DISTRICT COURT




                IN THE IOWA DISTRICT COURT FOR POLK COUNTY


TROY TYLER,                                               Case No. LACL157287

                     Plaintiff,

       vs.                                                 APPEARANCE OF
                                                          BRIDGET R. PENICK
HOTEL FORT DES MOINES, HILTON
WORLDWIDE AND CURIO COLLECTION
BY HILTON, FIRST HOSPITALITY, LLC,
FIRST HOSPITALITY GROUP, INC.,
KERRI BLANCHARD, KYLE MIRIANI,
DILLON DOUGLAS, NEIL UPADHYAY
AND BRIAN ATKINS,

                     Defendants.



       Bridget R. Penick enters her appearance in this docket on behalf of Defendants Kerri

Blanchard, Kyle Miriani, Dillon Douglas, Neil Upadhyay, and Brian Atkins.



  Dated this 15th day of February 2024           FREDRIKSON & BYRON, P.A.

                                                 /s/ Bridget R. Penick
                                                 Bridget R. Penick (AT0006147)
                                                 bpenick@fredlaw.com
                                                 Olivia Norwood (AT0013429)
                                                 onorwood@fredlaw.com
                                                 111 East Grand Avenue, Suite 301
                                                 Des Moines, IA 50309-1972
                                                 Telephone: (515) 242-8902
                                                 Facsimile: (515) 242-8950

                                                 ATTORNEYS FOR FIRST HOSPITALITY,
                                                 LLC, FIRST HOSPITALITY GROUP, INC.,
                                                 KERRI BLANCHARD, KYLE MIRIANI,
                                                 DILLON DOUGLAS, NEIL UPADHYAY, AND
                                                 BRIAN ATKINS
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 45 of 51
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        The undersigned hereby certifies that on February 15, 2024, the foregoing document was
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                                                   /s/ Faith A. Baker
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 46 of 51
               E-FILED 2024 FEB 15 4:51 PM POLK - CLERK OF DISTRICT COURT




                IN THE IOWA DISTRICT COURT FOR POLK COUNTY


TROY TYLER,                                               Case No. LACL157287

                      Plaintiff,

       vs.                                                APPEARANCE OF
                                                         OLIVIA N. NORWOOD
HOTEL FORT DES MOINES, HILTON
WORLDWIDE AND CURIO COLLECTION
BY HILTON, FIRST HOSPITALITY, LLC,
FIRST HOSPITALITY GROUP, INC.,
KERRI BLANCHARD, KYLE MIRIANI,
DILLON DOUGLAS, NEIL UPADHYAY
AND BRIAN ATKINS,

                      Defendants.


       Olivia N. Norwood enters her appearance in this docket on behalf of Defendants Kerri

Blanchard, Kyle Miriani, Dillon Douglas, Neil Upadhyay, and Brian Atkins/



  Dated this 15th day of February 2024.          FREDRIKSON & BYRON P.A.

                                                 /s/ Olivia N. Norwood
                                                 Olivia N. Norwood (AT0013429)
                                                 onorwood@fredlaw.com
                                                 Bridget R. Penick (AT0006147)
                                                 bpenick@fredlaw.com
                                                 111 East Grand Avenue, Suite 301
                                                 Des Moines, IA 50309-1972
                                                 Telephone: (515) 242-8900
                                                 Facsimile: (515) 242-8950

                                                 ATTORNEYS FOR FIRST HOSPITALITY,
                                                 LLC, FIRST HOSPITALITY GROUP, INC.,
                                                 KERRI BLANCHARD, KYLE MIRIANI,
                                                 DILLON DOUGLAS, NEIL UPADHYAY, AND
                                                 BRIAN ATKINS.
    Case 4:24-cv-00073-RGE-HCA Document 1-1 Filed 02/21/24 Page 47 of 51
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                                    Certificate of Service
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electronically filed with the Clerk of Court using the EDMS system, which will send a notice of
electronic filing to all counsel of record registered with the EDMS system.
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